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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

MELANIE HOGAN SLUDER, et al.

      Plaintiff,

v.                                           Civil Action File No.:
                                             4:24-cv-00181-WMR
REBECKA PHILLIPS, et al.,

      Defendants.


       CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS


      In accordance with LR 26.3(A), NDGa., I certify that on January 10, 2025, I

served Plaintiffs with the following discovery materials:

      1. Defendant Sharon Ellis’ Answers to Plaintiffs’ First Interrogatories; and

      2. Defendant Sharon Ellis’ Responses to Plaintiff’s First Requests for

          Production of Documents.

      These discovery materials have been served upon Plaintiffs by electronic

means via email to Plaintiffs’ counsel of record at: sharton@rblaw.net and

hboonejr@boonefirm.com.



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                                       Submitted by:

                                       WOMACK, RODHAM & RAY, P.C.

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                                       SHARON ELLIS




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                         CERTIFICATE OF SERVICE


      On January 10, 2025, I electronically filed this Certificate of Service of

Discovery Materials with the Clerk of Court using the CM/ECF which will

automatically provide electronic service of this document to all counsel of record.

                                             Submitted by:

                                             WOMACK, RODHAM & RAY, P.C.

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